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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

MARION COSTER, et al.,              *
                                    *
            Plaintiffs,             *
                                    *                  Civil Action No. 18-CV-1995-APM
      v.                            *
                                    *
STEVEN F. SCHWAT, et al.,           *
                                    *
            Defendants,             *
                                    *
___________________________________ *

                  CONSENT MOTION TO MODIFY SCHEDULING ORDER

          To provide additional time to complete depositions and to receive bank statements from

non-party subpoena recipients,1 Plaintiffs request, with Defendants’ consent, the following

modifications to the case deadlines set forth in the Court’s November 14, 2022 Minute Order:

              •   Close of Fact Discovery – February 14, 2023 (currently 01/13/2023)

              •   Joint Status Report Re Discovery Status – February 17, 2023 (currently

                  01/17/2023)

              •   Plaintiffs’ Expert Reports & Rule 26(a)(2) Disclosures – March 17, 2023

                  (currently 02/13/2023)

              •   Defendants’ Expert Reports & Rule 26(a)(2) Disclosures – May 16, 2023

                  (currently 04/14/2023)

              •   Plaintiff’s Rebuttal Expert Reports & Rule 26(a)(2) Disclosures – May 30, 2023

                  (currently 04/28/2023)

              •   Close of Discovery – June 20, 2023 (currently 05/19/2023)



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    The parties stipulate not to serve any additional written party discovery requests.
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           •   Post-Discovery Status Conference – June 23, 2023 (currently 05/25/2023).

                                       *       *         *     *

       Plaintiffs note this is the ninth request for modification of the Court’s Scheduling Order.



                                               Respectfully submitted,


Dated: January 12, 2023                        /s/Branden Lewiston
                                               Michael K. Ross (D.C. Bar No. 458573)
                                               Serine R. Consolino (D.C. Bar No. 740826)
                                               Branden Lewiston (D.C. Bar No. 252550)
                                               AEGIS LAW GROUP LLP
                                               801 Pennsylvania Avenue, N.W., Suite 740
                                               Washington, D.C. 20004
                                               Tel: (202) 737-3373
                                               Fax: (202) 735-5071
                                               mross@aegislawgroup.com
                                               sconsolino@aegislawgroup.com
                                               blewiston@aegislawgroup.com

                                               Counsel for Plaintiffs



                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2023, I electronically filed the foregoing document

with the Clerk of the Court using the electronic court filing system, which will provide

notification of such filing to all counsel of record.

                                                         /s/Branden Lewiston
                                                         Branden Lewiston




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